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EXHIBIT C

Proposed Form of Order

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

X
In re: - Chapter 11
AMERICAN HOME MORTGAGE ; Case No. 07-11047 (CSS)
HOLDINGS, INC., a Delaware corporation, et al.,’
Jointly Administered

Debtors.
Ref. Docket No.:

Xx

ORDER PURSUANT TO BANKRUPTCY CODE SECTIONS 105, 363 AND 1146(A)
AND BANKRUPTCY RULES 2002, 6004, 9014 AND 9019 APPROVING AND
AUTHORIZING: (1) (A) THE SALE, ASSIGNMENT AND TRANSFER OF
LIMITED LIABILITY COMPANY INTEREST OF BROADHOLLOW FUNDING,
LLC; AND (B) THE SALE, ASSIGNMENT AND TRANSFER OF LIMITED
LIABILITY COMPANY INTEREST OF MELVILLE FUNDING, LLC; (ID)
SETTLEMENT OF CLAIMS, RELEASES AND WAIVERS; (III) RELEASE OF
CERTAIN ESCROW FUNDS; AND (IV) GRANTING RELATED RELIEF

Upon consideration of the private sale and settlement motion (the “Motion”)’ of the

above-captioned debtors and debtors-in-possession (collectively, “AHM,” the “Debtors” or the

“Sellers’”’), pursuant to sections 105, 363 and 1146(a) of Title 11 of the United States Code (the

“Bankruptcy Code”) and Rules 2002, 6004, 9014 and 9019 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules’), for an order (the “Order”) approving and authorizing:

(I)(a) the terms of that certain agreement (the “Broadhollow Sale Agreement’) entitled Sale,

' The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
American Home Mortgage Holdings, Inc. (“AHM Holdings”) (6303); American Home Mortgage Investment Corp.
(“AHM Investment”), a Maryland corporation (3914); American Home Mortgage Acceptance, Inc. (“AHM
Acceptance”), a Maryland corporation (1979); American Home Mortgage Servicing, Inc. (““AHM Servicing”), a
Maryland corporation (7267); American Home Mortgage Corp. (“AHM Corp.”), a New York corporation (1558);
American Home Mortgage Ventures LLC (“AHM Ventures”), a Delaware limited liability company (1407);
Homegate Settlement Services, Inc. (“Homegate”), a New York corporation (7491); and Great Oak Abstract Corp.
(“Great Oak”), a New York corporation (8580). The address for all of the Debtors is 538 Broadhollow Road,
Melville, New York 11747, except for AHM Servicing, whose address is 4600 Regent Blvd., Suite 200, Irving,
Texas 75063.

? All capitalized terms included but not defined herein shall have the meaning ascribed to such terms in the Motion
and Sale Agreements.

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Assignment and Transfer of Limited Liability Company Interest of Broadhollow Funding, LLC

(the ‘““Broadhollow LLC Interests’), dated , 2010, by and between AHM Corp., as

seller thereunder, and B&M Management Corp., as buyer thereunder (the “Buyer’”), attached

hereto as Exhibit A; (b) the terms of that certain agreement (the “Melville Sale Agreement,” and

together with the Broadhollow Sale Agreement, the “Sale Agreements”) entitled Sale,

Assignment and Transfer of Limited Liability Company Interest of Melville Funding, LLC* (the

‘Melville LLC Interests,” and together with the Broadhollow LLC Interests, the “LLC
Interests’), dated , 2010, by and between AHM Acceptance, as seller thereunder, and
the Buyer, as buyer thereunder, attached hereto as Exhibit B; (ID) settlement of claims, releases
and waivers; (III) release of certain escrow funds; and (IV) granting related relief; and the Court
having reviewed the Sale Agreements, including the settlement of claims, releases and waivers
contained therein or herein, the Motion and this Order and objections thereto, if any, and the
arguments of counsel made, and the evidence proffered or adduced, at the hearing; and the Court
having determined that the relief requested in the Motion is in the best interests of the Debtors,
their estates, creditors and other parties-in-interest; and due and adequate notice of the Motion

having been given under the circumstances; and upon the remainder of the record herein; and

? Broadhollow Funding, LLC, as issuer (“Broadhollow”), and Deutsche Bank Trust Company Americas, in its
capacity as Indenture Trustee (the “Broadhollow Indenture Trustee”), are parties to that certain Base Indenture dated
as of May 27, 2004 (the “Broadhollow Base Indenture’), for the issuance from time to time of one or more series of
Broadhollow’s Residential Mortgage-Backed Notes (the “Broadhollow Senior Notes”), and one or more series of
Broadhollow’s Residential Mortgage-Backed Subordinated Notes (the “Broadhollow Subordinated Notes,” and
collectively with the Senior Notes, the “Broadhollow Notes”), issuable as provided in the Broadhollow Base
Indenture.

‘ Melville Funding, LLC, as issuer (“Melville”), and Deutsche Bank Trust Company Americas, in its capacity as
Indenture Trustee (the “Melville Indenture Trustee,” and collectively with the Broadhollow Indenture Trustee, the
“Indenture Trustees”), are parties to that certain Base Indenture dated as of May 27, 2004 (the “Melville Base
Indenture’), for the issuance from time to time of one or more series of Melville’s Residential Mortgage-Backed
Notes (the “Melville Senior Notes”), one or more series of Melville’s Variable Funding Notes (the “Variable
Funding Notes”), and one or more series of Melville’s Residential Mortgage-Backed Subordinated Notes (the
“Melville Subordinated Notes,” and collectively with the Melville Senior Notes and the Variable Funding Notes, the
“Melville Notes”), issuable as provided in the Melville Base Indenture.

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after due deliberation thereon, and good and sufficient cause appearing therefor, it is hereby
FOUND AND DETERMINED THAT:

A. The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157
and 1334, and this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of these
cases and the Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409.

B. The statutory predicates for the relief sought in the Motion are sections
105, 363 and 1146(a) of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 9014 and 9019.

C. For the reasons set forth in the Motion, due and adequate notice of the
Motion, Sale Agreements, settlement of claims, releases, waivers, hearing, and the subject matter
thereof has been provided to all parties-in-interest, and no other or further notice is necessary. A
reasonable opportunity to object or be heard with respect to the Motion and the relief requested
therein has been afforded to all interested persons and entities.

D. Granting the relief requested in the Motion is in the best interests of the
Debtors, their estates, their creditors, and other parties-in-interest. The Debtors have
demonstrated good, sufficient, and sound business purposes and justifications for the relief
requested in the Motion.

E. The Sale Agreements, Motion and this Order and all terms contained
therein were negotiated and proposed, and have been entered into by the parties, in good faith,
from arm’s-length bargaining positions, and without collusion. The Buyer is a good faith
purchaser within the meaning of section 363(m) of the Bankruptcy Code and is entitled to all of
the protections thereof. None of the Debtors or the Buyer have engaged in any conduct that

would cause or permit the Sale Agreements, settlement of claims, releases, waivers, or the sale of

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the LLC Interests to the Buyer pursuant thereto and hereto, to be avoided under 11 U.S.C. §
363(n). The Buyer is not an “insider” of any of the Debtors, as that term is defined in section
101 of the Bankruptcy Code.

F, Under the circumstances, and due and adequate notice having been
provided, it is the best interests of the Debtors, their creditors, and all other parties-in-interest
herein that the LLC Interests be sold to the Buyer in a private sale under Section 363(b) of the
Bankruptcy Code and Bankruptcy Rules 2002(c)(1) and 6004(£)(1).

G. The direct and indirect benefits and consideration provided to all releasing
parties pursuant to the Sale Agreements and this Order (i) is fair and reasonable, (ii) is the
highest and best offer for the LLC Interests, (iii) will provide a greater recovery for the Debtors’
creditors than would be provided by any other available alternative, and (iv) constitutes
reasonably equivalent value and fair consideration under the Bankruptcy Code and under the
laws of the United States, any state, the District of Columbia, territory or possession.

H. Each Debtor (i) has full corporate power and authority to execute each of
the Sale Agreements, and the sale of the LLC Interests has been duly and validly authorized by
all necessary corporate action of each of the Debtors; (ii) has all of the corporate power and
authority necessary to consummate the transaction contemplated by each Sale Agreement; and
(iii) has taken all corporate action necessary to authorize each Sale Agreement and the
consummation of the transactions contemplated thereby. No consents or approvals are required
to consummate such transactions.

I. The Debtors are authorized to sell the LLC Interests free and clear of all

interests of any kind or nature whatsoever, because one or more of the standards set forth in 11

° Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of
fact when appropriate. See Fed. R. Bankr. P. 7052.

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U.S.C. § 363(f)(1)-(5) have been satisfied. Those holders of interests who did not object to the
Motion or the relief requested therein, or who imposed and then withdrew their objections, are
deemed to have consented to the sale and the terms, conditions, settlement of claims, releases
and waivers contained in the Sale Agreements and this Order.

J. The issuance, transfer or exchange of the LLC Interests, or the making or
delivery of an instrument of transfer pursuant to the sale, this Order and the Sale Agreements are
being implemented and authorized under the Amended Chapter 11 Plan Of Liquidation Of The
Debtors Dated As Of February 18, 2009 (the “Plan’’), which Plan was confirmed under section
1129 of the Bankruptcy Code on February 23, 2009.

K. The Debtors have demonstrated (i) good, sufficient, and sound business
purposes and justifications and (ii) compelling circumstances for the sale pursuant to
section 363(b) of the Bankruptcy Code in that, among other things, absent the sale the value of
the Debtors’ estates will be harmed.

L. The Court finds that good, adequate and sufficient cause exists to waive
the ten-day stay of orders authorizing the sale for use of a Debtors’ property under Fed. R.
Bankr. P. 6004(h).

M. The Debtors currently hold the “Miscellaneous Funds Escrow Account”
(as defined in the Order Approving And Authorizing the Stipulation Between the Debtors and
Calyon New York Branch, as Administrative Agent [Docket No. 3918}).

N. The Buyer and the Sellers would not have entered into the Sale
Agreements and would not consummate the transactions contemplated thereby, thus adversely
affecting the Debtors, their estates, and their creditors, if the sale of the LLC Interests to the

Buyer was not free and clear of all liens and interests of any kind or nature whatsoever and if the

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settlement of claims, releases and waivers contained in the Sale Agreements and this Order were
not approved and effective against all parties in interest.
IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:
1. The Motion is GRANTED as set forth herein.
2. All objections to the Motion or the relief requested therein that have not
been withdrawn, waived, or settled, and all reservations of rights included therein, hereby are
overruled on the merits.

Sale and Settlement

3. Pursuant to sections 105 and 363 of the Bankruptcy Code and Bankruptcy
Rule 9019, the Debtors are hereby authorized and empowered (i) to conduct a private sale of the
LLC Interests; (ii) to enter into the Sale Agreements; (iii) to sell, transfer, and convey the LLC
Interests to the Buyer; and (iv) to settle, release and waive claims as set forth in the Motion, this
Order and Sale Agreements.

4. Upon Closing, the LLC Interests shall be transferred to the Buyer free and
clear of all liens, claims, encumbrances, or other interests except as set forth herein, pursuant to
Bankruptcy Code sections 105 and 363. The Sale Agreements and all of their terms are
APPROVED, and this Order and the Sale Agreements shall be binding upon the Debtors, their
estates, all creditors (whether known or unknown) of the Debtors, the official committee of
unsecured creditors, the Plan Trustee (as defined in the Plan), the Plan Trust (as defined in the
Plan) any and all successors and assigns to the foregoing, and any trustees appointed in these
proceedings or any trustees appointed in any subsequent proceedings under chapter 7 or chapter

11 of the Bankruptcy Code relating to the Debtors, and all other parties-in-interest.

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5. Subject to the terms of this Order, the transfer of the LLC Interests to the
Buyer pursuant to the Sale Agreements constitutes legal, valid and effective transfers of the LLC
Interests, and shall vest with the Buyer all right, title, and interest of the LLC Interests free and
clear of any and all claims or interest of any kind or nature whatsoever.

6. Pursuant to 11 U.S.C. §§ 105(a) and 363(b), the Debtors and the Buyer, as
well as their officers, employees, and agents, shall be, and hereby are, authorized to take any and
all actions and/or execute any and all documents as may be necessary or desirable to
consummate the transactions, settlements, releases and waivers contemplated by the Sale
Agreements, the Motion and this Order, and to sell, assign, transfer, and convey the LLC
Interests and all ancillary rights to the Buyer. Any actions taken by the Debtors and the Buyer
necessary or desirable to consummate such transactions prior to the entry of this Order are
hereby ratified.

7. The Sale Agreements, substantially in the forms attached hereto as Exhibit
A and Exhibit B, including any amendments, supplements and modifications thereto, and all of
the terms and conditions contained therein, are hereby approved. The Sale Agreements and any
related agreements, documents, or other instruments may be modified, amended, or
supplemented by the parties thereto, in a writing signed by each party, and in accordance with
the terms thereof and hereof, without further order of this Court; provided that any such
modification, amendment or supplement does not have a material adverse effect on the Debtors’
estates.

8. The failure specifically to include any particular provisions of the Sale

Agreements in this Order shall not diminish or impair the effectiveness of such provision, it

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being the intent of the Court that the Sale Agreements, as modified herein, be authorized and
approved in its entirety.

9. The Buyer is a good faith purchaser within the meaning of section 363(m)
of the Bankruptcy Code and is entitled to all of the protections thereof.

10. The consideration provided by the Buyer for the LLC Interests under the
Sale Agreements is fair and reasonable and may not be avoided under section 363(n) of the

Bankruptcy Code.

Waivers and Releases

11. Any and all conditions or restrictions to the transfer of the LLC Interests or
the removal and replacement of the managers of each of Broadhollow and Melville, including,
without limitation, any requirement to obtain Rating Agency Confirmation (as defined (1) in the
Broadhollow LLC Agreement for purposes of the Broadhollow Sale Agreement, transfer of the
Broadhollow Interests, and resignation of AHM Corp. as the manager of Broadhollow; and (ii) in
the Melville LLC Agreement for purposes of the Melville Sale Agreement, transfer of the Melville
Interests, and resignation of AHM Acceptance as the manager of Melville), pursuant to the
Broadhollow LLC Agreement, the Melville LLC Agreement or any other document, instrument or
agreement, are waived.

12. The releases contained in the Sale Agreements are approved as set forth
therein.

13. Except for the duties, liabilities, and obligations under the Sale
Agreements and this Order, effective immediately upon the admission of the Buyer as a member
of each of Broadhollow and of Melville, respectively, and the transfer of the LLC Interests to the

Buyer, (i) the Debtor Releasors, on the one hand and solely with respect to any and all claims

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arising out of or in connection with the issuance, sale, repayment, or other discharge of the
Broadhollow Notes and Melville Notes, respectively, and (i1) the Broadhollow Indenture Trustee,
the Melville Indenture Trustee and the holders of each of the Broadhollow Notes and Melville
Notes, on the other hand and solely in their respective capacities as such and for no other
purpose, on behalf of themselves and their respective current and former officers, members,
agents, directors, predecessors, successors (including, without limitation, any plan trust
established by order of the Bankruptcy Court to which any Debtors’ assets are transferred as well
as the trustee of any such trust), assigns, affiliates, and other representatives, in each case, solely
in such capacity, fully and forever release, acquit, waive and discharge each other, of and from
all and every manner of claims, including but not limited to, any action and actions, cause and
causes of action, complaints, debts, covenants, rights, suits, judgments, representations,
warranties, fees, demands, priority claims, unsecured claims, cure claims, deficiency claims,
interest claims, penalty claims, administrative claims, counterclaims, and damages whatsoever,
known or unknown, arising, accruing, assessed or assessable in respect of any periods and any
transactions, contracts or agreements occurring or entered into in any periods (collectively, the

“Additional Released Claims”), which Additional Released Claims shall be waived, released,

forever barred, discharged and disallowed; provided however, that the foregoing releases shall

not act as a waiver, release, bar, discharge or disallowance of any underlying claims or defenses

related to the action styled as American Home Mortgage Investment Corp. v. Lehman Brothers

Inc. and Lehman Commercial Paper Inc., Civil Action No. 08-484-JJF, in the United States

District Court for the District of Delaware.

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Escrow Funds

14. At Closing, the Debtors shall pay from the Miscellaneous Funds Escrow
Account the sum of $703,162 to or on behalf of Broadhollow by wire transfer of immediately
available funds to such account or accounts as shall be designated in writing to AHM Corp. by
Assignee, including, without limitation, any account or accounts maintained by the Collateral
Agent for the benefit of the Noteholders, and all remaining funds in the Miscellaneous Funds
Escrow Account shall be released to the Debtors or the Plan Trust (as applicable). The Debtors
shall have no further obligations to maintain the Miscellaneous Funds Escrow Account as
described in the Order Approving And Authorizing the Stipulation Between the Debtors and
Calyon New York Branch, as Administrative Agent [Docket No. 3918] and such funds may be
used for general operating purposes and as set forth under the Plan.

Additional Provisions

15. Unless and until a complaint is filed by Buyer against the Debtors, the
Plan Trust and/or the Plan Trustee alleging a breach of any ongoing representation or warranty
contained in the Sale Agreements and seeking damages therefor, the Debtors, the Plan Trust
and/or the Plan Trustee shall not be required to establish any reserve under the terms of the Plan
to satisfy any potential liability for a breach of any such representations or warranties.

16. To the extent that there are any inconsistencies between the Sale
Agreements and this Order, the terms of this Order shall govern.

17. The issuance, transfer or exchange of the LLC Interests, or the making or
delivery of an instrument of transfer pursuant to the sale, this Order and the Sale Agreements are
being implemented and authorized under the confirmed Plan and, pursuant to 1146(a) of the

Bankruptcy Code, may not be taxed under any law imposing a stamp tax or similar tax.

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18. Notwithstanding Bankruptcy Rule 6004(h), this Order shall be effective
and enforceable immediately upon entry and its provisions shall be self-executing. In the
absence of any person or entity obtaining a stay pending appeal, the Debtors and the Buyer are
free to close under the Sale Agreements at any time, subject to the terms of the Sale Agreements.

19. The provisions of this order are nonseverable and mutually dependent.

20. The Court shall retain jurisdiction to resolve any dispute arising from or
relating to the Sale Agreements or this Order.

Dated: Wilmington, Delaware
, 2010

Christopher S. Sontchi
United States Bankruptcy Judge

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